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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )
                                    )                       Case No. 20-cr-10111-RWZ
CHARLES LIEBER,                     )
                                    )
      Defendant.                    )
____________________________________)

     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION FOR
              JUDGMENT OF ACQUITTAL PURSUANT TO
            FEDERAL RULE OF CRIMINAL PROCEDURE 29(a)

                                 PRELIMINARY STATEMENT

         Defendant, Charles Lieber, respectfully submits this Memorandum Of Law In Support of

his Motion For Judgment Of Acquittal, pursuant to Rule 29(a) of the Federal Rules of Criminal

Procedure. Professor Lieber moves for a judgment of acquittal on Counts One, Two, Three,

Four, Five and Six of the Superseding Indictment. ECF 35. The government failed to present at

trial proof beyond a reasonable doubt of the essential elements of the crimes charged. See

Jackson v. Virginia, 443 U.S. 307, 381-319 (1979); United States v. Ortiz, 447 F3d 28 (1st Cir.

2006).

                                  INTRODUCTION AND
                               SUMMARY OF THE ARGUMENT

         Count One alleges that Professor Lieber knowingly and willfully made a false statement

to the Department of Defense, on or about April 24, 2018. Count Two alleges that Professor

Lieber knowingly and willfully caused a false statement to be made to the National Institutes of

Health, on or about January 10, 2019. The applicable statute is Title 18, United States Code,

Section 1001(a)(2), which provides:


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       [W]hoever, in any matter within the jurisdiction of the executive . . . branch of the

       Government of the United States, knowingly and willfully . . . . makes any

       materially false, fictitious, or fraudulent statement or representation shall be

       [guilty of a crime].

       Count Three of the indictment alleges that Professor Lieber knowingly and willfully filed

a false tax return on or about April 15, 2014, for the 2013 tax year. Count Four of the indictment

alleges that Professor Lieber knowingly and willfully filed a false tax return on or about

September 29, 2015, for the 2014 tax year. The applicable statute is Title 26, United States Code,

Section 7206(1), which provides:

       Any person who willfully makes and subscribes any return . . . which contains or

       is verified by a written declaration that it is made under the penalties of perjury,

       and which he does not believe to be true and correct as to every material matter

       [shall be guilty of a crime].

       Counts Five and Six charge, in pertinent part, that Professor Lieber “did willfully fail to

file . . . a Report of Foreign Bank and Financial Accounts . . . disclosing that he had an interest

in, and signature and other authority over, a bank, securities, and other financial account in a

foreign country, to wit, at least one bank account located in . . . China at the Industrial and

Commercial Bank of China [“ICBC”][.]” First Superseding Indictment, ECF 35, ¶ 51. The

Indictment charges that such failure to file constitutes a crime because that failure violates a

section of the Bank Secrecy Act (the “BSA”), 31 U.S.C. § 5314, and a regulation promulgated

by the Secretary of the Treasury (the “Secretary”), 31 C.F.R. § 1010.350 (the “Regulation”).

       This Court “must enter judgment of acquittal of any offense for which the evidence is

insufficient to obtain a conviction,” Fed. R. Crim. P. 29(a), because a defendant cannot be



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convicted “except upon proof of each element of the offense charged beyond a reasonable

doubt.” Oses v. Massachusetts, 775 F. Supp. 43, 465 (D. Mass. 1991). That high bar is “an

essential component” of due process, reducing the risk of wrongful convictions, improving the

fundamental fairness of criminal proceedings, and enhancing public confidence in the legal

system. Murray v. United States, No. 01-cv-11271-WGY, 2002 U.S. Dist. LEXIS 8980, at *21-

22 (D. Mass. May 10, 2002) (quoting In re Winship, 397 U.S. 358, 363 (1970)) (stating the

requirement of proof beyond a reasonable doubt “provides concrete substance for the

presumption of innocence—that bedrock, axiomatic and elementary principle whose

enforcement lies at the foundation of the administration of criminal law”). Where “the chain of

inferences forged by the prosecution is too loose,” the jury is left to speculate about a key fact, or

sufficient proof is altogether missing on any element, a conviction must be vacated. United

States v. Houlihan, 92 F.3d 1271, 1295 (1st Cir. 1996).

       Here, acquittal is required because the evidence at trial was insufficient prove every

element of each offense beyond a reasonable doubt.


                                           ARGUMENT

                                              POINT I

  THE COURT SHOULD ENTER JUDGMENT OF ACQUITTAL ON COUNTS FIVE AND
                SIX BECAUSE THE REGULATION EXPANDS
                  REGULATORY AUTHORITY TO REACH
            CONDUCT THAT SECTION 5314(a) DOES NOT OUTLAW

       The Court should enter a judgment of acquittal on Counts Five and Six. As demonstrated

below, the Regulation “add[s] to the statute . . . something which is not there[.]” In re JPMorgan

Chase Bank, N.A., 799 F.3d 36, 42 (1st Cir. 2015) (internal quotation marks omitted).

Specifically, the Regulation adds a requirement that a U.S. person report a “relationship” with a



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foreign bank. Such a requirement “is not there” in the statute, which requires that a U.S. person

report a “transaction[,]” not a “relationship[.]”

        A “transaction” and a “relationship” are different things. Accordingly, the Regulation

expands regulatory authority to reach conduct that the statute does not outlaw. The Regulation is

therefore a nullity.

        Under the Constitution, and its principle of separation of powers, “the power to define

criminal offenses . . . resides wholly with the Congress.” Whalen v. United States, 445 U.S.

684, 689 (1980). Congress, of course, may empower an agency of the Executive Branch to

promulgate regulations, but the “scope” of a regulation “cannot exceed the power granted [to the

agency] by Congress[.]” Ernst & Ernst v. Hochfelder, 425 U.S. 185, 213-14 (1976).

        The First Circuit has summarized the law: “The rulemaking power granted to an

administrative agency charged with the administration of a federal statute is not the power to

make law. Rather, it is the power to adopt regulations to carry into effect the will of Congress as

expressed in the statute. . . . Where Congress has spoken with specificity, an agency may not

promulgate regulations that are an attempted addition to the statute of something which is not

there, even if the intent behind the attempted addition is consistent with the intent behind the

authorizing statute.” JPMorgan, 799 F.3d at 42 (internal quotation marks omitted), citing

Hochfelder, 425 U.S. at 213-14; United States v. Calamaro, 354 U.S. 351, 358-59 (1957).

        Calamaro, a criminal case, is particularly instructive. Calamaro involved “a type of

lottery[,]’” which employed three participants -- a “banker,” a “writer,” and a “pick-up man[.]”

354 U.S. at 353 (internal quotation marks omitted). The Court affirmed the reversal of the

conviction of a pick-up man, holding that the applicable statute reached the banker and the writer

but not the pick-up man.



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         The Government sought to salvage the conviction on the ground that “the Treasury

Regulations relating to the statute purport to include the pick-up man[.]” Id. at 358. The

government contended that the regulation “constitutes an administrative interpretation to which

[the Court] should give weight in construing the statute[.]” Id. The Court rejected the

contention: “[W]e cannot but regard this Treasury Regulation as no more than an attempted

addition to the statute of something which is not there. As such the regulation can furnish no

sustenance to the statute.” Id. at 359 (footnote omitted).

         Here, Congress has spoken “with specificity[.]” JPMorgan, 799 F.3d at 42. Thus, 31

U.S.C. § 5314(a) provides, in pertinent part, that the Secretary shall require a U.S. person to file

a report when the U.S. person “makes a transaction” with a foreign financial agency.”1 Treasury,

however, promulgated a regulation that imposes an “addition to the statute of something which is

not there[.]” JPMorgan, 799 F.3d at 42. Thus, the Regulation provides, in pertinent part, that a

U.S. person having a specified interest in, or specified authority over, a specified kind of account

shall report such “relationship[.]”

         A “transaction” and a “relationship” are different things.2 The Regulation therefore

expands regulatory authority to reach conduct that the statute does not outlaw. The Regulation

“operates to create a rule out of harmony with the statute,” United States v. Kahn, 5 F.4th 167,

176 (2d Cir. 2021) (internal quotation marks omitted), by “broaden[ing] [Treasury’s] regulatory

authority over activities that the plain language of the statute would not otherwise permit.”



1
  The Regulation also empowers the Secretary to require a U.S. person to file a report when the person “maintains a
relation for any person” with a foreign financial agency. Here, however, the Indictment does not charge, and the
government did not prove, that Professor Lieber maintained a relation with ICBC “for any person[.]”
2
  See Black’s Law Dictionary (11th ed. 2019) (defining “transaction” as “The act or an instance of conducting
business or other dealings; esp., the formation, performance, or discharge of a contract. . . . Something performed or
carried out; a business agreement or exchange. . . . Any activity involving two or more persons.”) (defining
“relationship” as “The nature of the association between two or more people; esp., a legally recognized association
that makes a difference in the participants’ legal rights and duties of care.”)

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Didrickson v. Dep’t of Interior, 796 F. Supp. 1281, 1291 (D. Alas. 1991). Such a regulation “is a

mere nullity[;]” Kahn, 5 F.4th at 176 (internal quotation marks omitted); it “can furnish no

sustenance to the statute.” Calamaro, 354 U.S. at 359 (footnote omitted).

        The history of the BSA and the Regulation confirm the foregoing conclusion. “‘It is

well-settled that when a regulation conflicts with a subsequently enacted statute, the statute

controls and voids that regulation.’” Kahn, 5 F.4th at 175, quoting Norman v. United States, 942

F.3d 1111, 1118 (Fed. Cir. 2019).

        Here, Congress, in 1970, enacted the BSA. Treasury, in turn, in 1977, promulgated a

regulation, which provided that a U.S. person “having a financial interest in, or signature or other

authority over, a bank, securities or other financial account in a foreign country shall report such

relationship[.]” 42 Fed. Reg. 63774 (Dec. 20, 1977), amending 31 C.F.R. § 103.24.

        Congress, next, in 1982, amended the BSA, by enacting section 5314, which empowers

the Secretary to require a U.S. person to file a report when that person “makes a transaction”

with a foreign financial agency. Treasury, however, failed to amend its 1977 regulation so as to

harmonize it with the 1982 statute, which imposed no requirement that a U.S. person file a report

regarding a “relationship[.]” On the contrary, Treasury simply carried forward, to this day, the

pertinent part of the 1977 regulation, including its requirement that a U.S. person having a

specified interest in, or specified authority over, a specified kind of account, report “such

relationship[.]” 31 C.F.R. § 1010.350(a).3 Cf. Kahn, 5 F.4th at 175 (noting that “Treasury’s

relaxed approach to amending its regulations to track Code changes [wa]s well documented[]”)

(internal quotation marks omitted).



3
 The 1977 regulation, 31 C.F.R. § 103.24, remained in effect until 2011, when the current Regulation, 31 C.F.R. §
1010.350(a), came into effect. Meanwhile, Treasury renumbered the sections, without “intend[ing] to have any
substantive effect on the BSA regulations.” See 76 Fed. Reg. 10234, 10235 (Feb. 24, 2011).

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       It follows in this case that the Regulation is void and cannot provide the foundation for a

conviction. The Regulation, which originated in pertinent part in 1977, “conflicts with a

subsequently enacted statute[.]” Kahn, 5 F.4th at 175. Accordingly, “the statute controls and

voids that regulation.” Id.

       Finally, the delegation-of-authority provision set forth in section 5314 does not save

Counts Five and Six. Section 5314(b)(5) provides, in pertinent part: “The Secretary may . . .

prescribe other matters the Secretary considers necessary to carry out this section[.]” That

delegation, however, merely gives the Secretary power to promulgate regulations that “carry out

this section[;]” -- that is, section 5314 itself. That delegation therefore merely returns the

analysis to its starting place -- the language of section 5314, which, as shown above, conflicts

with the language of the Regulation.

       Section 5314(b)(5), in short, “does not constitute authorization to issue a regulation that

contradicts” or exceeds “an express provision of the statute[,]” Kahn, 5 F.4th at 173, no matter

how convenient the government may find the Regulation. “[A]n agency may not rewrite clear

statutory terms to suit its own sense of how the statute should operate.” Lawrence + Memorial

Hosp. v. Burwell, 812 F.3d 257, 267 (2d Cir. 2016) (internal quotation marks omitted).

                                              POINT II

                             IN THE ALTERNATIVE,
                        THE COURT SHOULD NOT SUBMIT
                THESE COUNTS TO THE JURY ON THE THEORY THAT
            PROFESSOR LIEBER HAD “SIGNATURE OR OTHER AUTHORITY”

       In the alternative, the Court should not submit Counts Five and Six to the jury on the

theory, charged in the Indictment, that Professor Lieber violated the Regulation in that he had

“signature or other authority over” the bank account at ICBC. As demonstrated below, that

theory fails as a matter of law.


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        31 C.F.R. § 1010.350(a) provides, in pertinent part: “Each United States person having a

financial interest in, or signature or other authority over, a bank, securities, or other financial

account in a foreign country shall report such relationship[.]” The Indictment charges that

Professor Lieber committed the offenses alleged in Counts Five and Six by failing to file a report

disclosing that he had both a “financial interest in[]” an account, and “signature or other

authority over[]” the account. Here, however, as a matter of law, the latter prong of the

Regulation -- that is, the “signature or other authority over” prong -- does not apply. Thus:

        Section 1010.350(c) makes sub-section (a) applicable to three “[t]ypes of reportable

accounts[]” -- a “Bank account[,]” a “Securities account[,]” and an “Other financial account.”

Sub-section (e), in turn, describes how the government may prove “[a] financial interest in a

bank, securities or other financial account[.]” Sub-section (f), by contrast, describes how the

government may prove “[s]ignature or other authority” over “a financial account[]” -- but not

over “a bank [or] securities account[.]” Accordingly, for the following three reasons, sub-section

(f) excludes “bank [and] securities . . . account[s.]”

        First, “Congress [or here, the Secretary] generally acts intentionally when it uses

particular language in one section of a statute [or here, a regulation] but omits it in another.”

Dep’t of Homeland Security v. MacLean, 574 U.S. 383, 391 (2015). Accordingly, the omission

in one section of language present in another section “gives rise to a negative inference” that the

draftsperson intentionally omitted the language. Trenkler v. United States, 268 F.3d 16, 23 (1st

Cir. 2001).

        Here, the Secretary included particular language in sub-section (e) of the Regulation but

omitted it in sub-section (f) of the Regulation. The Court should therefore draw the negative

inference: The Secretary intentionally omitted “bank account” and “securities account” from



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sub-section (f), and intentionally limited sub-section (f) to “financial account.” See MacLean,

574 U.S. at 391 (“Congress’s choice to say ‘specifically prohibited by law’ rather than

‘specifically prohibited by law, rule or regulation’ suggests that Congress meant to exclude rules

and regulations.”); Dep’t of Treasury v. FLRA, 494 U.S. 922, 932 (1990) (“A statute that in one

section refers to ‘law, rule or regulation,’ and in another section to only ‘laws’ cannot, unless we

abandon all pretense at precise communication, be deemed to mean the same thing in both

places.”).

       Had the Secretary intended to include all three types of accounts in sub-section (f), the

Secretary “presumably would have done so expressly, as [the Secretary] did in the immediately

[preced]ing subsection” (e). Russello v. United States, 464 U.S. 16, 23 (1983). The Court

should “refrain from concluding here that the differing language in the two subsections has the

same meaning in each[,]” id., especially where, as here, one “speaks broadly” and the other uses

“less expansive language[.]” Id.

       Second, the expressio unius canon applies here. That canon “translates roughly as ‘the

expression of one thing is the exclusion of other things[.]’” United States v. Hernandez-Ferrer,

599 F.3d 63, 67 (1st Cir. 2010). “Th[at] maxim instructs that, when parties list specific items in

a document, any item not so listed is typically thought to be excluded.” Smart v. Gillette Co.

Long-Term Disability Plan, 70 F.3d 173, 179 (1995).

        Here, the Secretary listed “financial account” in sub-section (f). Therefore, “bank

account” and “securities account” are excluded from sub-section (f). The expression of one

thing in sub-section (f) (coverage of only one type of account) is the exclusion of other things

from sub-section (f) (coverage of the other two types of accounts).




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       Third, the history of the Regulation shows that the Secretary explicitly narrowed the

reach of this prong of the Regulation. Thus, 31 C.F.R. § 103.24, effective from 1977 until 2011,

provided, in pertinent part: “Each person subject to the jurisdiction of the United States . . .

having a financial interest in, or signature or other authority over, a bank, securities or other

financial account in a foreign country shall report such relationship[.]” In 2011, however, the

Secretary amended the Regulation. That amended version, which remains in force, revised the

definition of “Signature or other authority[]” so as to include only “the authority of an individual

. . . to control the disposition of money, funds or other assets held in a financial account[,]” but

not in “a bank [or] securities account[.]” Plainly, the “signature or other authority over” prong of

the Regulation does not apply to a “bank account” or a “securities account.”

       Accordingly, in this case, the government cannot invoke the “signature or other authority

over” prong, set forth in sub-section (f). This case, according to paragraph 51 of the Indictment,

involves a “bank account,” not a “financial account[.]” Indeed, the government does not and

cannot contend that the account at ICBC meets the definition of “[o]ther financial account[,]” set

forth in sub-section (c)(3). Therefore, the Court should not submit Counts Five and Six to the

jury on the theory that Professor Lieber had “signature or other authority over” the bank account

at ICBC.

       For the foregoing reasons, the Court should enter a judgment of acquittal on Counts Five

and Six. In the alternative, the Court should not submit Counts Five and Six to the jury on the

theory that Professor Lieber had “signature or other authority over” the bank account at ICBC.


                                             POINT III

     THE COURT SHOULD ENTER JUDGMENT OF ACQUITTAL ON ALL COUNTS
                 BECAUSE THE EVIDENCE IS INSUFFICIENT



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        For Counts One, Two, Three, Four, Five, and Six, the prosecution failed to prove the

essential elements of the crimes. The prosecution’s failures include, but are not limited to:

       For the false statement charges, the prosecution failed to prove beyond a reasonable

        doubt that Professor Lieber willfully and knowingly made a material false statement.

        (Counts One and Two);

       For the tax charges, the prosecution failed to prove Professor Lieber willfully violated a

        known legal duty in filing his 2013 and 2014 tax returns (Counts Three and Four); and

       For the FBAR charges, the prosecution failed to prove Professor Lieber had a financial

        interest in, [or signature or other authority over], a bank account in a foreign country

        during the calendar year specified in the count with an aggregate value of any such

        account exceeded $10,000 during 2014 and 2015 (Counts Five and Six).


                                          CONCLUSION


        For the reasons set forth above, Professor Lieber respectfully requests that this Court

enter a judgment of acquittal for Counts One, Two, Three, Four, Five, and Six.




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                                CERTIFICATION OF SERVICE

       I hereby certify that on December 21, 2021, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.




Dated: Boston, Massachusetts
       December 21, 2021
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